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June 17, 2025
VIA ECF
Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street, Room 1620
New York, NY 10007

Re:      Lively v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL;
         rel. Wayfarer Studios LLC et al. v. Lively et al., No. 1:25-cv-00449-LJL

Dear Judge Liman:
On behalf of Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, It Ends With
Us Movie LLC, Melissa Nathan, The Agency Group PR LLC, and Jennifer Abel (collectively, the
“Wayfarer Parties”), we write pursuant to Rule 4.b of Attachment A to Your Honor’s Individual
Rules to respectfully request that the Court preliminarily seal Exhibits B and C to the Wayfarer
Parties’ Letter Brief, dated June 17, 2025 (“Letter Brief”), submitted in opposition to Blake
Lively’s motion for a protective order concerning her communications with Taylor Swift, filed
contemporaneously herewith, as well as portions of the Letter Brief quoting from those exhibits.
In addition, Wayfarer Parties respectfully request that they be allowed to file a permanently
redacted version of Exhibit E to the Letter Brief.
Exhibit B is Blake Lively’s Responses and Objections to Wayfarer Parties’ First Set of Requests
for Production, which Ms. Lively designated as “confidential.” Exhibit C is Blake Lively’s
Amended Initial Disclosures, which Ms. Lively also designated as “confidential.” In accordance
with Rule 4.b of Attachment A, the Wayfarer Parties respectfully request that the Court not rule
on this letter-motion to seal Exhibits B and C to the Letter Brief, as well as the portions of the
Letter Brief quoting from those exhibits, for one week so that Ms. Lively may file a motion for
continued sealing if she so chooses.
Exhibit E is Wayfarer Parties’ Initial Disclosures, which Wayfarer Parties designated
“confidential” because they contain confidential personal contact information of third parties.
Courts consistently hold that personal contact information of third parties including phone
numbers and email addresses warrant sealing. See In re Keurig Green Mt. Single-Serve Coffee
Antitrust Litig., No. 14-MC-2542 (VSB), 2023 WL 196134, at *12 (S.D.N.Y. Jan. 17, 2023)
(redaction of names, emails, and phone numbers of non-party individual employees of Keurig was
warranted); In re Zyprexa Products Liab. Litig., No. MDL1596JBWASC, 2005 WL 2237789, at
*2 (E.D.N.Y. Mar. 2, 2005) (redaction of “confidential personal contact information such as home


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telephone numbers and addresses, pager and personal cell phone numbers, Social Security
numbers” of Lilly’s non-party employees was warranted).
Accordingly, Wayfarer Parties respectfully request that they be allowed to permanently redact the
portions of Exhibit E to the Letter Brief, together with the portions of the Letter Brief referencing
Exhibit E to protect confidential personal identifiers of third parties.
Respectfully submitted,


/s/ Kevin Fritz
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